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                                                               FILED: February 22, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


                                     ___________________

                                        No. 23-1078 (L)
                                        (2:21-cv-00316)
                                     ___________________

        B.P.J., by her next friend and mother; HEATHER JACKSON

                    Plaintiffs - Appellants

        v.

        WEST VIRGINIA STATE BOARD OF EDUCATION; HARRISON COUNTY
        BOARD OF EDUCATION; WEST VIRGINIA SECONDARY SCHOOL
        ACTIVITIES COMMISSION; W. CLAYTON BURCH, in his official capacity as
        State Superintendent; DORA STUTLER, in her official capacity as Harrison
        County Superintendent

                    Defendants - Appellees

        and

        THE STATE OF WEST VIRGINIA; LAINEY ARMISTEAD

                    Intervenors - Appellees

                                     ___________________

                                          ORDER
                                     ___________________

              Upon consideration of submissions relative to Appellants’ motion for stay
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        pending appeal relief requested by February 26, 2023, which the court construes as

        a motion for an injunction pending appeal, the court grants the motion and stays the

        district court’s January 5, 2023, order dissolving its preliminary injunction.

              Entered at the direction of the panel: Judge Harris and Judge Heytens. Judge

        Agee dissents from the court’s order.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
